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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

Kathy Missey,                                       Case No.:

         Plaintiff,

v.                                                     COMPLAINT FOR DAMAGES
                                                    UNDER THE FAIR DEBT COLLECTION
Watson Acquisition Group, LLC,                         PRACTICES ACT AND OTHER
                                                           EQUITABLE RELIEF
And

Walker Peters Morgan, LLC                            JURY DEMAND ENDORSED HEREIN

         Defendants.

                                    JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                   FACTS COMMON TO ALL COUNTS

2. Defendants are “debt collector[s]” as defined by 15 U.S.C. §1692a(6).

3. On information and belief, the defendants are commonly owned and staffed, co-mingle

     assets, share office space, and jointly engage in the same business endeavors such that one is

     merely a shell of the other.

4. As described below, Defendants attempted to collect from Plaintiff a “debt” as defined by 15

     U.S.C. §1692a(5).

5. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

6. On or around June 12, 2010, Defendants’ employee telephoned Plaintiff in connection with

     the collection of the debt.




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7. During this communication, Defendants’ employee falsely represented himself as a process

   server.

8. During this communication, Defendants’ employee falsely represented that Defendants had

   legal documents to serve upon Plaintiff and would do so unless Plaintiff paid Defendants.

9. On or around June 16, 2010, Defendants’ employee telephoned Plaintiff in connection with

   the collection of the debt.

10. During this communication, Defendants’ employee falsely represented that Defendants were

   preparing to serve Plaintiff with a summons at Plaintiff’s place of employment and would do

   so if Plaintiff did not pay Defendants.

11. Fearing the worst, Plaintiff agreed to a payment arrangement for the debt with Defendants for

   three monthly installments of $148.31.

12. On June 18, 2010, Defendants debited Plaintiff’s account for $382 without Plaintiff’s

   permission.

13. On or around June 18, 2010, Plaintiff telephoned Defendants to contest the debit.

14. During this communication, Defendants’ employee falsely represented that Plaintiff would

   be sued if she did not allow further payments to be debited.

15. On or around July 30, 2010, Defendants’ employee telephoned Plaintiff in connection with

   the collection of the debt and left a voice message.

16. During this communication, Defendants’ employee falsely represented that Plaintiff or

   Plaintiff’s attorney needed to telephone Defendant immediately if Plaintiff wanted to resolve

   the debt outside of court.

17. In or around July 2010, Defendants’ employee telephoned Plaintiff’s mother’s residence on

   several occasions in connection with the collection of the debt.




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18. During each of these communications, Defendants’ employee left a voice message disclosing

    that Plaintiff owed a debt.

19. Defendants caused Plaintiff emotional distress.

                                            COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. Defendants violated 15 U.S.C. §1692c(b) by communicating with a third party in connection

    with the collection of the debt.

                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

22. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

23. Defendants violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

    which was to harass, oppress, or abuse Plaintiff in connection with the collection of the debt.

                                          COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

24. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

25. Defendants violated 15 U.S.C. §1692e by using false, deceptive, or misleading

    representations in connection with the collection of the debt.

                                          JURY DEMAND

26. Plaintiff demands a trial by jury.

                                       PRAYER FOR RELIEF

27. Plaintiff prays for the following relief:




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      a. Judgment against Defendants for actual damages, statutory damages, and costs

         and reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

      b. For such other legal and/or equitable relief as the Court deems appropriate.



                                       RESPECTFULLY SUBMITTED,

                                       By: /s/ Timothy J. Sostrin
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